Case 4:09-cr-00043-SPF Document 80-3 Filed in USDC ND/OK on 06/15/09 Page 1 of 2




                                              Exhibit 9a




           ll
                                                              U.S. Department of Justice

                                                              DAVID E. O'MEILIA
                                                              United States Attorney
                                                              Northern District of Okla/ioma
                                                              Loretta Radford
                                                              Assistant United States Attorney

                                                               110 West 1h Street. Suite 300
                                                               Tulsa. Oklahoma 74119



                                            November 28, 2006


           Erick Marinez, Special Agent in Charge
           Criminal Investigation Division
           Internal Revenue Service
           1100 Commerce Street, Room 1222; MS 9000
           Dallas, TX 75242


                   RE: Oscar     Stilley   (XXX-XX-XXXX)


           Dear Mr. Martinez,

           The Internal Revenue Service, Criminal Investigation Division is currently
           paricipating in an on-going grand jury investigation of
                                                                         LINDSEY K. SPRIGER
           for violations including Title 26, United States Code, Section 7201. During the
           course of      this investigation. the United States Attorney's Offce has received
           information indicating that OSCAR A. STILLEY may have violated Title 26,
           United States Code, Section 7201, and Title 18, United States Code, Section 371
           (Klein Conspiracy).

           The information indicates that STILLEY works with SPRlNGER to provide legal
           representation to clients around the nation who are facing criminal tax charges.
           Information also indicates that STILLEY has received income from numerous
           clients for providing this representation, and that he intentionally faiiéd to report
           this income to the Internal Revenue Service. Evidence also shows that STILLEY
           is assisting SPRINGER with the evasion of     his taxes by attempting to conceal
           income paid by clients to SPRrNGER.




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Case 4:09-cr-00043-SPF Document 80-3 Filed in USDC ND/OK on 06/15/09 Page 2 of 2




           The United States Attorney's Office is requesting that the Internal Revenue Service
           expand the grand jury investigation to include OSCAR A. STILLEY for violations
           of Title 26, United States Code, Section 7201, and Title 18, United Sta,tes Code,
           Section 371.


           I am disclosing grand jury information to special agents ofthe IRS Criminal
           Investigation Division in order to assist in conducting the grand jury investigation
           as it relates to the suspected criminal violations. This authorization of disclosure
           extends to such IRS personnel to whom q.isc1osure may be necessar to enable
           them to fulfill their duties. lRS and Counsel personnel to whom disclosures are
           made in the course of         this investigation are cautioned regarding the limitations
           placed on use of      the grand jury by Rule 6(e) of the Federal Rules of
                                                                                        Criminal
           Procedure.


                                                               Sincerely,
